 Case 2:10-cr-00124   Document 96   Filed 12/07/11   Page 1 of 4 PageID #: 429



                    UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON



UNITED STATES OF AMERICA

v.                                  CRIMINAL ACTION NO. 2:10-00124-02

ALBERT SIMS


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


            On December 7, 2011, the United States of America

appeared by William B. King, II, Assistant United States

Attorney, and the defendant, Albert Sims, appeared in person and

by his counsel, David O. Schles, for a hearing on the petition

on supervised release submitted by United States Probation

Officer Joseph Black, the defendant having commenced a three-

year term of supervised release in this action on February 10,

2011, as more fully set forth in the Judgment Including Sentence

Under the Sentencing Reform Act entered by the court on January

28, 2011.


            The court heard the admissions of the defendant and

the representations and argument of counsel.
 Case 2:10-cr-00124   Document 96   Filed 12/07/11   Page 2 of 4 PageID #: 430



           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant violated the special condition that he remain on home

confinement for a period of six months and the standard

condition that he notify the probation officer at least 10 days

prior to any change in residence inasmuch as he left his

residence without permission on May 19, 2011, at 7:47 a.m. and

had not returned by the time of the filing of the petition on

June 20, 2011, rendering his whereabouts unknown; and (2) that

the defendant used and possessed cocaine as evidenced by a

positive urine specimen submitted by him on May 11, 2011, and

his subsequent admission to the probation officer; all as

admitted by the defendant on the record of the hearing and as

set forth in the petition on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously
 Case 2:10-cr-00124   Document 96   Filed 12/07/11   Page 3 of 4 PageID #: 431



imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3553(a)1, that the defendant

is in need of correctional treatment which can most effectively

be provided if he is confined, it is accordingly ORDERED that

the defendant be, and he hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of TIME SERVED, to be followed by a term of thirty (30)

months of supervised release upon the standard conditions of

supervised release now in effect in this district by order

entered June 22, 2007, and the further conditions that (1) the

defendant not commit another federal, state or local crime, (2)

the defendant seek substance abuse and mental health treatment

as instructed by the probation officer, undertaking to secure

such treatment even in the event that no such instructions are

forthcoming, and (3) it appearing that the defendant failed to

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       Section 3553(a) factors include the advisory guideline
range calculated under the United States Sentencing Guidelines
which in this case is a suggested term of four to ten months
imprisonment.
 Case 2:10-cr-00124   Document 96   Filed 12/07/11   Page 4 of 4 PageID #: 432



pay the fine of $1,000 and the $100 special assessment imposed

by the court’s sentencing order of January 28, 2011, the further

special condition that the defendant pay the entirety of the

fine and special assessment on or before December 20, 2011.


            It is recommended that the defendant receive credit

for time served while awaiting hearing and sentencing from

approximately July 17, 2011, until December 7, 2011.


            The defendant was remanded to the custody of the

United States Marshal for return to the facility where he has

been incarcerated and from which he is then to be forthwith

released.


            The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                    DATED:   December 7, 2011


                                    John T. Copenhaver, Jr.
                                    United States District Judge
